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                                              July 10, 2024
  VIA ECF
  Honorable Michael A. Hammer
  United States District Court
  Martin Luther King Building & U.S. Courthouse
  50 Walnut Street
  Newark, NJ 07101

                 RE: Nina Agdal v. Dillon Danis, 23-CV-16873-MCA-MAH

  Dear Judge Hammer,

           We represent Plaintiff Nina Agdal in the above-referenced matter. We submit this status
  letter in advance of the hearing scheduled for July 11, 2024, at 10:00 a.m., on the Court’s Order
  to Show Cause [D.E. 57], at which Defendant Dillon Danis was ordered to appear in person and
  show cause why sanctions should not be imposed for his failure to fulfill his discovery
  obligations. This letter is to update this Court on the status of Plaintiff’s unsuccessful efforts to
  obtain long-overdue discovery from Defendant,1 even after this Court entered the Order to Show
  Cause, and also to update this Court on other discovery-related matters.




   1
      The specific discovery requests at issue and Plaintiff’s efforts to obtain the discovery prior to
  the Order to Show Cause were detailed in Plaintiff’s letter motion dated May 31, 2024, see D.E.
  56, and more generally in Plaintiff’s status letter dated May 30, 2024, see D.E. 55.
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       A. Defendant’s Ongoing Discovery Deficiencies

          (i) X materials

          As an initial matter, Defendant carried out most of the offending conduct at issue in this
  case via X, as X is the platform on which he posted the nonconsensual explicit photograph of
  Plaintiff and also where he posted his allegedly defamatory claims that Plaintiff has HIV. With
  regard to any responsive materials in Defendant’s possession that are maintained on X –
  including any responsive messages he sent or received on that platform – Defendant still owes
  Plaintiff this discovery.

          During the Parties’ conferrals between February and May 2024, Defendant’s counsel
  represented that Defendant did not provide responsive materials to him and technological issues
  prevented defense counsel from accessing and downloading responsive materials directly from
  Defendant’s X accounts. As an attempted workaround, the Parties agreed that defense counsel
  would request from X a copy of the archived data associated with Defendant’s accounts. It was
  the Parties’ understanding this would include all messages sent or received from the accounts
  and a wealth of other data relating to Defendant’s activities on the platform. Upon receiving that
  download from X, Defendant’s counsel produced it to Plaintiff wholesale on June 11, 2024.

          Plaintiff quickly realized, however, that – in addition to the production being an
  extraordinarily large and cumbersome data dump – the format of the X archived data renders it
  virtually unintelligible and unusable. The direct messages alone appear to comprise more than
  100,000 pages, and Plaintiff’s discovery vendor advised that, because of its format, it is
  impossible to cull and/or organize the information in any useful way (e.g., by date). Moreover,
  because of its format, the data omits much of the key information sought in discovery.2

          We raised these format-related issues with Defendant’s counsel on June 14, 2024, and
  followed up again on July 3, 2024, after we did not hear back. On July 8, 2024, Defendant’s
  counsel contacted X for assistance in obtaining the data in a different format. It is Defendant’s
  responsibility to produce any responsive X data in a usable format, and not as a data dump that
  “shift[s] the burden” of his discovery obligations to Plaintiff. See Sports Garten LLC v. Sunday
  Night Prods., 2023 U.S. Dist. LEXIS 237085, *7 (E.D.N.Y. Aug. 25, 2023) (“[W]hen documents
  were finally turned over, Plaintiff engaged in an impermissible document dump of approximately
  40,000 files. . . . As discussed previously, Plaintiff cannot unilaterally shift the burden of its
  discovery obligations onto Defendant in such a manner.”). Based on our own communications
  with X, it is our understanding that there is a reasonable and straightforward means for X users

   2
     As an example, the messages do not identify who Defendant was communicating with other
  than by a unique, X-assigned user identification number.


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  like Defendant to obtain their own account data in a more user-friendly format, and Plaintiff
  hopes and expects Defendant to assist his counsel to facilitate obtaining that download
  expeditiously.

          (ii) All other document discovery from Defendant

          Separate from the X-related data, and more relevant to the Show Cause hearing, a
  significant portion of Plaintiff’s document requests to Defendant seek his contemporaneous
  communications about his offending social media activities. Plaintiff’s discovery was
  propounded nine months ago, in November 2023. In May 2023, Defendant produced a limited
  set of data that had been downloaded from his Instagram account. Then, earlier this week,
  Defendant produced a single WhatsApp communication thread – a thread between Defendant
  and his manager, which his manager already had produced in this case pursuant to a non-party
  subpoena. Despite previously representing that WhatsApp was Defendant’s preferred means of
  communication, Defendant’s counsel now relayed his understanding that “[Defendant] did not
  use WhatsApp generally, other than with me and [his manager],” and, apparently, for that reason,
  Defendant did not produce any other WhatsApp messages. But defendant also has not produced
  any emails, text messages, or any other type of written communication. In fact, Defendant has
  not produced any emails or text messages in this case to date. Instead, defense counsel has
  represented that any responsive communications that exist likely would be on X.

          Regrettably, not only does it defy credulity that no additional responsive communications
  exist other than on X, Defendant’s representation is false. Indeed, later on the very same day that
  Plaintiff received this representation, non-party Alex Lord (who Plaintiff separately subpoenaed)
  produced to Plaintiff screenshots of responsive text messages with Defendant during the relevant
  timeframe, in which Defendant asked Lord to help him create offensive Photoshopped content of
  Plaintiff for Defendant to post to his social media account:




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                      Example of a responsive text message between Defendant
                and non-party Lord (and altered image) that Defendant did not produce




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                   Another example of a responsive text message between Defendant
                 and non-party Lord (and altered image) that Defendant did not produce

  Defendant did not produce any of the above communications, instead claiming he had no other
  responsive communications.

          Furthermore, despite the representation that Defendant only used WhatsApp to
  communicate with his counsel and with his manager, non-party Mams Taylor of Misfits (the
  promoter of the boxing match that Defendant claims was the motivation for his offensive posts
  against Plaintiff) produced to Plaintiff the following WhatsApp communication string with
  Defendant, in which the two discussed Taylor’s insistence that Defendant delete his social media
  post containing the explicit photograph of Plaintiff.




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                             Example of a responsive WhatsApp message
                        with non-party Taylor that Defendant did not produce

  This string also was not produced by Defendant.

          As if it were not sufficiently clear that responsive materials continue to be withheld by
  Defendant, although most of the materials in Defendant’s limited Instagram production from
  May 2024 were unresponsive, several of the Instagram communications in that production
  signaled the existence of yet additional responsive and unproduced communications. For
  example, in one such communication between Defendant and a comedian named Tony
  Hinchcliffe, Defendant solicited the creation of offensive and distasteful jokes about Plaintiff
  that he could then post to his social media account. The Instagram exchange ended with
  Defendant requesting more jokes and asking for Hinchliffe’s phone number, which Hinchcliffe
  provided, suggesting that their conversation continued offline via text message.




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                     Instagram message between Defendant and non-party Hinchcliffe
                   indicating the likely existence of additional unproduced text messages

  Of course, Defendant has not produced any such text messages between him and Hinchcliffe.

         The above examples illustrate there is no serious question that, in the context of
  Defendant’s months-long campaign of cyber harassment against Plaintiff, during which he
  posted about her upwards of 10 times per day, he was communicating about his conduct
  frequently.3 Plaintiff is entitled to those communications, but Defendant is purposefully
  withholding those communications while falsely maintaining nothing further exists.

          (iii) Interrogatories to Defendant

          In addition to the outstanding documents that are owed, Plaintiff has been following up
  with Defendant for months about the inadequacy of several of his Interrogatory answers. These
  Interrogatories seek information that is plainly relevant to this case for reasons detailed in

   3
     During the conferral process with defense counsel, Plaintiff attempted to facilitate Defendant’s
  collection of responsive communications by providing search terms.
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  Plaintiff’s letter motion [D.E. 56 at 7–10], including such basic information as: (i) What social
  media accounts Defendant used to post about Plaintiff, (ii) When and how Defendant came into
  possession of the explicit photograph of Plaintiff, and (iii) How Defendant obtained certain
  content he posted of Plaintiff that was not publicly available, but rather had been hacked from
  her Snapchat account. Defendant persists in his refusal to answer these Interrogatories. Instead
  of providing the information to his counsel to then respond to Plaintiff, defense counsel was left
  with insisting earlier this week: “As for the rog [Interrogatory] responses, take his deposition and
  ask him about whatever you like . . . .”

      B. Defendant’s Social Media Activities

         Meanwhile, despite his failure to take any of his discovery obligations seriously, Defendant
  continues to find time to harass Plaintiff and mock this proceeding on social media to maximize
  his engagement on X and Instagram. The below are several examples of his recent posts:




                Posted July 9, 2024                              Reposted July 7, 2024




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                Posted May 21, 2024
                                                               Reposted May 22, 2024

       C. Plaintiff’s Requested Sanctions

         Plaintiff maintains that sanctions are warranted as a result of Defendant’s purposeful
  discovery violations, which are prejudicing Plaintiff’s ability to prosecute her case. “The
  decision to impose sanctions for discovery violations and any determination as to what sanctions
  are appropriate are matters generally entrusted to the discretion of the district court.” Bowers v.
  Nat’l Collegiate Athletics Ass’n, 475 F.3d 524, 538 (3d Cir. 2007). Plaintiff requests that, at a
  minimum, she be awarded her attorney’s fees and costs incurred as a result of Defendant’s
  discovery failures. See Zawadsky v. Bankers Std. Ins. Co., 2015 U.S. Dist. LEXIS 173789, at
  *35–37 (D.N.J. Dec. 30, 2015) (ordering defendant to pay fees and costs incurred as a result of
  defendant’s discovery violations).

         Additionally, given the known existence of responsive communications that have not
  been produced, Defendant’s failure to cure his discovery deficiencies despite many
  opportunities, and Defendant’s false representations that responsive materials do not exist,4

   4
     Defendant’s false representations about the nonexistence of responsive materials were not the
  result of an honest mistake or oversight; they are underscored by his sworn Interrogatory
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 Plaintiff submits that this Court should require Defendant to immediately turn over his mobile
 phone and all other electronic devices he used during the relevant time period (and any computer
 from which he engaged in his offending social media activities) to a third-party ESI vendor for
 the creation of a forensic image, at his own expense. The order should require the Parties’
 counsel to confer about an appropriate protocol whereby the Defendant can identify and
 withhold materials only on the basis of privilege, and everything else must be turned over to
 Plaintiff subject to the confidentiality order that is in place. See Robinson v. City of Arkansas
 City, Kan., 2012 WL 603576, *17 (D. Kan. Feb. 24, 2012) (ordering creation of a mirror image
 of defendant’s computer as a result of defendant’s discovery transgressions). Although a drastic
 remedy, it has become apparent this is the only way for Plaintiff to obtain the discovery to which
 she is entitled.5

     D. The Pretrial Calendar

         Finally, as part of this Court’s Order to Show Cause, this Court held in abeyance
 discovery deadlines in this case. Plaintiff requests that this Court continue to do so given that
 Plaintiff still has not obtained the discovery she is owed by Defendant. Besides discovery from
 Defendant, Plaintiff has continued to pursue non-party discovery, including from X. Plaintiff
 continues to confer with X regarding the discovery sought pursuant to a subpoena, and as to
 certain requests, Plaintiff anticipates she may need to file an action in California seeking an order
 to enforce that subpoena. Notwithstanding the delays presented by the discovery obstacles
 identified above, Plaintiff has been actively litigating this case and doing her best to move it
 forward, with several non-party depositions scheduled for next week.

        We look forward to addressing these matters with Your Honor at the July 11, 2024
 hearing.

                                                       Respectfully submitted,

                                                       /s/ Joseph B. Shumofsky
                                                       Joseph B. Shumofsky
                                                       Jeffrey Neiman
                                                       Jason L. Mays

 cc: Counsel for Defendant Dillon Danis (via ECF)

 answers, in which he attested that nobody other than him contributed to the content of his social
 media posts about Plaintiff – even though, as the communications excerpted above show, that
 was not true.
 5
  Plaintiff also requests that this Court require Defendant to post a bond in a sufficient sum to
 guarantee payment of the cost of a third-party ESI vendor.

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